
PER CURIAM.
We review Department of Transportation v. Fowler, 621 So.2d 689 (Fla. 6th DCA 1993), because of its conflict with Tampa-Hillsborough County Expressway Authority v. A.G.W.S. Corp., 608 So.2d 52 (Fla. 2d DCA 1992). We have jurisdiction under article V, section 3(b)(3) of the Florida Constitution.
Recently, we quashed the Second District Court of Appeal decision in A.G.W.S. Corp. Tampa-Hillsborough County Expressway Authority v. A.G.W.S. Corp., 640 So.2d 54 (Fla.1994). Accordingly, we approve the decision below.
It is so ordered.
GRIMES, C.J., OVERTON, SHAW, KOGAN and HARDING, JJ., and McDONALD, Senior Justice, concur.
